       Case 1:15-cr-00170-LJO-SKO Document 80 Filed 11/03/16 Page 1 of 2



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 5 Attorney for Defendant, SYDNEY ALLEN

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 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                         ) Case No.1:15-cr-00170 LJO-SKO
                                                     )
11                  Plaintiff,                       ) AMENDED REQUEST FOR ORDER
                                                     ) EXONERATING BOND AND; ORDER
12          v.                                       )
                                                     )
13 SYDNEY ALLEN,                                     )
                                                     )
14                  Defendant.                       )
                                                     )
15

16         An order having been signed by this Court on August 25, 2016, dismissing the above-
17 captioned case as to Defendant SYDNEY ALLEN, (Doc. 62.) The defendant by and through his

18 counsel of record, Mr. Salvatore Sciandra, hereby applies to this Court for an order exonerating his

19 property bond.

20
                                                        Respectfully submitted,
21

22
     Dated: November 2, 2016                            /s/ Salvatore Sciandra
23                                                      SALVATORE SCIANDRA
                                                        Attorney for Defendant,
24                                                      SYDNEY ALLEN
25
     ///
26
     ///
27
     ///
28
        Case 1:15-cr-00170-LJO-SKO Document 80 Filed 11/03/16 Page 2 of 2



 1                          ORDER GRANTING EXONERATION OF BOND
 2             Good cause having been shown, it is hereby Ordered that bond in the above
 3
     entitled case is exonerated:
 4

 5
   Contra Costa Assessors Parcel No.: 530-170-012
 6 Trustor: Sydney Allen Jr.
   Contra Costa County Recorder DOC-2015-0143942-00
 7
   Recorded: July 10, 2015
 8

 9
10 IT IS SO ORDERED.

11        Dated:       November 2, 2016                           /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES CHIEF DISTRICT JUDGE
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28
     U.S. v. SIDNEY ALLEN
     AMENDED REQUEST FOR ORDER EXONERATING BOND AND: [PROPOSED] ORDER
     Case No.1:15-cr-00170 LJO
                                                                                    2
